            Case 2:21-cv-00811-TSZ Document 123-1 Filed 05/01/23 Page 1 of 2




 1                                                        THE HONORABLE THOMAS S. ZILLY

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 3
                             UNITED STATES DISTRICT COURT
 4                     FOR THE WESTERN DISTRICT OF WASHINGTON
 5
 6   BUNGIE, INC., a Delaware corporation,                   Cause No. 2:21-cv-0811 TSZ

 7                                                           DECLARATION OF PHILIP P.
                                Plaintiff
 8
                                                             MANN IN SUPPORT OF
                                                             DEFENDANTS’ MOTION TO
 9                              v.                           SET ASIDE ARBITRATION
                                                             AWARD OF JUDGE RONALD
10   AIMJUNKIES.COM, a business of unknown                   E. COX
     classification; PHOENIX DIGITAL GROUP
11   LLC, an Arizona limited liability company;
                                                  Note on Motion Calendar:
12   JEFFREY CONWAY, an individual; DAVID
     SCHAEFER, an individual; JORDAN GREEN, May 19, 2023
13   an individual; and JAMES MAY, an individual,
                                                  Oral Argument Requested
14                        Defendants.

15
16
             I, Philip P. Mann, under penalty of perjury under the laws of the United States, state
17   and declare as follows:
18
             1.      I am counsel for all Defendants in the above captioned matter.
19
             2.      Attached as Exhibit A is a true and correct copy of the Demand for Arbitration
20
                     filed by Bungie, Inc., on February 10, 2022.
21
             3.      Attached as Exhibit B is a true and correct copy of the “Commencement of
22
                     Arbitration” materials issued by JAMS on March 4, 2022.
23
             4.      Attached as Exhibit C is a true and correct copy of the “Appointment of
24
                     Arbitrator” materials issued by JAMS on March 18, 2022.
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                                                                             MANN LAW GROUP PLLC
     Mann Declaration                                                        403 Madison Ave. N. Ste. 240
                                               Page 1                        Bainbridge Island, WA 98110
     Cause No. 21-CV-0811-TSZ                                                Phone: 206.436.0900
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 1           5.      Attached as Exhibit D is a true and correct copy of the “Report of Preliminary
 2                   Hearing And Scheduling Order No.1,” issued by Judge Ronald E. Cox,
 3                   Arbitrator, on June 20, 2022.
 4           6.      Attached as Exhibit E is a true and correct copy of email correspondence dated
 5                   September 25, 2022 between Defendant’s counsel and counsel for Plaintiff
 6                   Bungie, inc.
 7           7.      Attached as Exhibit F is a true and correct copy of an excerpt from the
 8                   transcript of the deposition of Dr. Edward Kaiser taken by Defendants on
 9                   October 5, 2022.
10           8.      Attached as Exhibit G is a true and correct copy of an excerpt from from the
11                   transcript of Arbitration hearing held December 19, 2022.
12           9.      Attached as Exhibit H is a true and correct copy of a portion of the JAMS
13                   Comprehensive Arbitration Rules & Procedures Effective June 1, 2021
14                   containing Rule 22(e) specifying that, “The Arbitrator shall receive and
15                   consider relevant deposition testimony recorded by transcript or videotape,
16                   provided that the other Parties have had the opportunity to attend and cross-
17                   examine.”
18           10.     Attached as Exhibit I is a true and correct copy of the Expert Report of Mr.
19                   Steven Guris submitted on behalf of Bungie in connection with the Arbitration.
20           11.     Attached as Exhibit J is a true and correct copy of the September 20, 2022
21                   Expert Report of Mr. Drew Voth submitted on behalf of Bungie in connection
22                   with the Arbitration.
23           Dated May 1, 2023.
24
                                                         /s/ Philip P. Mann
25                                                           Philip P. Mann

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                                                                            MANN LAW GROUP PLLC
     Mann Declaration                                                       403 Madison Ave. N. Ste. 240
                                               Page 2                       Bainbridge Island, WA 98110
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